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                EXHIBIT C
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Requirements for BFX Token Transfers
As of 8/31/16



Tokens have been issued in connection with certain property that was stolen from iFinex Inc.
("iFinex") and from BFXNA Inc. (collectively, the "Bitfinex Group”) on August 2, 2016 (the
"Losses"). You can read more about the tokens here. A token may be transferred only on notice
to, and with the prior consent of, the Bitfinex Group. The Bitfinex Group has determined that a
token may be transferred on the following terms with prior notice to the Bitfinex Group:

   ●    A U.S. person may only transfer the token to another iFinex customer, but may not
        purchase tokens.
   ●    A customer who is not a U.S. person may purchase and transfer tokens without
        restriction if, in connection with each trade, the customer verifies to the Bitfinex Group’s
        satisfaction that the customer is not a U.S. person.
   ●    To transfer a token to another person, a transferor must assign to the transferee any
        claims that the transferor has against the Bitfinex Group on account of the Losses.

By transferring a token to another person, all transferors thereby assign to the respective
transferees any claims that the transferor has against the Bitfinex Group on account of the
Losses.
